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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

                                                   )
In re                                              )     Chapter 11
                                                   )
TRONOX INCORPORATED, et al.,                       )     Case No. 09-10156 (ALG)
                                                   )
                           Debtors.                )     Jointly Administered
                                                   )
                                                   )
TRONOX INCORPORATED, TRONOX                        )
WORLDWIDE LLC f/k/a Kerr-McGee                     )
Chemical Worldwide LLC, and TRONOX LLC             )
f/k/a Kerr-McGee Chemical LLC,                     )
                                                   )
                           Plaintiffs,             )
                                                   )
                    v.                             )     Adv. Pro. No. 09-01198 (ALG)
                                                   )
ANADARKO PETROLEUM CORPORATION                     )
and KERR-McGEE CORPORATION,                        )
                                                   )
                           Defendants.             )
                                                   )
                                                   )
THE UNITED STATES OF AMERICA,                      )
                                                   )
                           Plaintiff-Intervenor,   )
                                                   )
                    v.                             )
                                                   )
ANADARKO PETROLEUM CORPORATION                     )
and KERR-McGEE CORPORATION,                        )
                                                   )
                           Defendants.             )
                                                   )

        STIPULATION AND ORDER BETWEEN PLAINTIFFS AND DEFENDANTS
               REGARDING THE SECOND AMENDED COMPLAINT

        Tronox Incorporated, Tronox Worldwide LLC f/k/a Kerr-McGee Chemical Worldwide

LLC, and Tronox LLC f/k/a Kerr-McGee Chemical LLC (collectively, “Plaintiffs”), and Kerr-

McGee Corporation (“Kerr-McGee”), Kerr-McGee Oil & Gas Corporation, Kerr-McGee

Worldwide Corporation, Kerr-McGee Investment Corporation, Kerr-McGee Credit LLC, Kerr-
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McGee Shared Services Company LLC, and Kerr-McGee Stored Power Company LLC

(collectively, the “Kerr-McGee Subsidiaries”)          and Anadarko        Petroleum Corporation

(“Anadarko”) (collectively, “Defendants”), hereby enter into this stipulation and order (the

“Stipulation”) and stipulate and agree as follows:

       WHEREAS, the Defendants filed a motion to dismiss counts IV, V, and VI of the

Plaintiffs’ Amended Adversary Complaint (the “Amended Complaint”) on May 26, 2010, and

this motion has been fully briefed since July 20, 2010;

       WHEREAS, on February 7, 2011, the Plaintiffs filed a Second Amended Adversary

Complaint (the “SAC”), naming the Kerr-McGee Subsidiaries as Defendants;

       THEREFORE, the Plaintiffs and the Defendants (each a “Party” and together, the

“Parties”) hereby stipulate and agree as follows:

       1.      The Defendants’ motion to dismiss counts IV, V, and VI of the Amended

Complaint shall be deemed to apply to the SAC.

       2.      The Defendants’ answer to the Amended Complaint with respect to counts I, II

and III shall be deemed to apply to the SAC. The deadline to file an Answer, if one is required,

with respect to counts IV, V and VI of the SAC is extended until 14 days following the date that

an order is issued deciding the motion to dismiss the Amended Complaint.

       3.      Except as set forth herein, the Parties fully reserve their rights with respect to all

other matters, including any other claims, rights, defenses or actions involving the Parties.

       4.      This Stipulation shall become effective and binding as of its entry on the docket

as “so ordered” by the Bankruptcy Court and shall not be stayed by operation of Bankruptcy

Rule 4001(a)(3).




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       5.      This Stipulation may not be changed, modified, or amended except in a writing

signed by the Parties and/or their counsel.

       6.      This Stipulation may be executed in any number of counterparts and shall

constitute one agreement, binding upon all Parties hereto as if all Parties signed the same

document. Further, all facsimile signatures shall be treated as originals for all purposes.

       7.      The Bankruptcy Court shall retain exclusive jurisdiction with respect to any and

all issues or disputes that may arise in connection with this Stipulation.

Dated: February 18, 2011

AGREED TO AND ACCEPTED:


KIRKLAND & ELLIS LLP                                  WEIL, GOTSHAL & MANGES LLP
By:   /s/ Jeffrey J. Zeiger                           By:    /s/ Lydia Protopapas
      David J. Zott, P.C. (admitted pro hac vice)            Melanie Gray (admitted pro hac vice)
      Jeffrey J. Zeiger (admitted pro hac vice)              Lydia Protopapas (LP 8089)
      300 North LaSalle Street                               Jason W. Billeck (admitted pro hac vice)
      Chicago, Illinois 60654                                700 Louisiana, Suite 1600
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                                                             Facsimile: (713) 224-9511


      Counsel for the Anadarko Litigation Trust              Counsel for Anadarko Petroleum
                                                             Corporation and Kerr-McGee
                                                             Corporation




       APPROVED and SO ORDERED this ____ day of _______________, 2011.



                                      THE HONORABLE ALLAN L. GROPPER
                                      UNITED STATES BANKRUPTCY JUDGE




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